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IN THE UNITED STATES DISTRICT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DlvlsION

NIC sALOMON, §
§
Plainaff, §

v. § cleL ACTION NO. 3;15~Cv-0666-M
' §
' KROENKE sPORTS & §
ENTERTAB\IMENT, LLC, OUTDOOR §
CHANNEL HOLDINGS, INC., and §
PACIF;C NORTHERN CAPITAL, LLC, - §

Defendants.

MEMORANDUM OPINION AND ORI)ER

Befcre the Ccurt are separate Mctions to Disniiss PlaintiffNic Salomon’s Amended
Complaint, filed by (l) Defendant Paciflc Nerthern Capital, LLC (“PNC”) [Dc)cket Entry
#33] and (2) Defendants Ki'cenke Sperts & Entertaimnent, LLC (“KSE”) and Outdcor
Channel Holdings, Inc. (“Outdocr”) {Dccket Entry #35]. Fcr the reasons stated, Defendants’
Moticns are GRANTED, and Plaintiff’s claims are DISl\/HSSED.

Background

On Septernber 29, 2015, the Ccui't dismissed Plaintiff Nic Salorncn’s claims against
Outdocr and KSE on the ground that Plaintiff’s Original Ccrnplaint failed to allege facts g
sufficient to establish that Plaintiff has pindential standing or is the real party in interest to
bring the claims asserted in this lawsuit. See Meni. Opn. [Docket Entry #30]. Plaintiff, With
the Court’s permission, subsequently filed an Amended Ccniplaint. Defendants now

challenge the Alnended Coinplaint under Fed. R. Civ. P. lZ(b)(l) and 12(b)(6), arguing that

 

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Plaintiff failed to cure the deficiencies that resulted in the earlier dismissal of his claims
against Outdoor and KSE and the Amended Complaint fails to state a claim for relief.

In his `Amended Complaint, Plaintiff alleges that he Worked as an executive for two
aerial camera businesses owned by Outdoor_known as SkyCani, LLC and CableCam,
LLC#from luly 2006 to May 2014. See Pl. Am. Compl. [Docket Bntry #31] at 4, ‘\l 10.
Plaintiff alleges that Outdoor agreed in principle to sell the aerial camera businesses to a
purchasing entity (the “Purchaser”) to be formed by Plaintiff and his investor group, PNC.
See id. at 3, ‘|18. On February 26, 2013, Plaintiff and PNC, on the one hand, and Outdoor, on
the other, executed a “Term Sheet” as evidence of their agreementl Id. at 7, 1{22; see also id.,
Ex. A. According to Plaintiff, he and PNC were the intended owners of the purchasing entity
and signed the Terrn Sheet “for the Purchaser.” See id. at 7, 1122. Plaintiff alleges that the
Term Sheet included a legally binding “Exclusivity” provision, which obligated Outdoor,
until April 15, 2013, (l) to deal exclusively with Plaintiff and PNC regarding the potential
sale of the aerial camera businesses; (2) not to entertain any competing offers to purchase the
aerial camera businesses; and (3) not to disclose to any third party the details of the exclusive
negotiations See id. at 3, 118 ; see also id. at 8, 1125.

Plaintiff further alleges that, during the period covered by the Exclusivity provision,
Outdoor negotiated a merger with KSE, which resulted in KSE acquiring the entirety of
Outdoor, including the aerial camera businesses See id. at l(), 1[32; ll, 1136 Plaintiff alleges
that Outdoor disclosed to KSE the existence of the Term Sheet, as well as the identities of
Plaintiff and PNC, and that Outdoor and PNC signed an Arnendinent to the Tenn Sheet that
purportedly gave KSE “veto rights” regarding the sale of the aerial camera businesses Icl. at

lO-l l, 1[1]33-34; see also id. at Ex. B. Plaintiff alleges that KSE interfered with his planned
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business relationships and prevented Outdoor from consummating the sale of the aerial
camera businesses as described in the 'l`errn Sheet. See id., 111133~35, and 37 .

Based on this conduct, Piaintiff filed this civil action on Februaly 27, 2015 against
KSE, Outdoor, and PNC, asserting claims for breach of contract, tortious interference, breach
of fiduciary duty, and unjust enrichment On luly 16, 2015, the Court granted KSE and
Outdoor’s joint Motion to Dismiss, but allowed Piaintiff leave to amend his pleadings See
Order [Docl<et Entry #26]. Thereafter, Plaintiff filed a Motion for Clarification, in which he
- requested the Court more particularly identify the deficiencies it found in his Original
Complaint`. The Court granted Plaintiff’ s Motion for Clarification and issued a Memorandum
Opinion and Order explaining that the Originai Complaint failed to allege sufficient facts to
establish that Plaintiff has prudential standing or is the real party in interest Although
Plaintiff asserted in response to the joint Motion that he was acting as a promoter of the
Purchaser when he signed the Term Sheet, his Original Complaint failed to allege sufficient
facts to establish that he was acting as the Purchaser’s promoter in his negotiations with
Outdoor.

Plaintiff has filed his Amended Complaint asserting claims against Outdoor for
breach of contract (Count l) and against KSE for tortious interference with an existing
contract and with prospective relations (Counts 2 and 3). Ia'. at 12-14, ‘|]‘l[ 38-41, 42-45, 46-
48. Plaintiff also asserts a claim against PNC for breach of fiduciary duty (Count 5), and a
claim against Outdoor and KSE for aiding and abetting PNC’s alleged breach of fiduciary
duty (Count 4). Id. at l4-l6, 1[1]49-52, 53-56. Plaintiff further asserts claims against all
. Defendants for unjust enrichment and civil conspiracy (Count 6 and 7). Id. 15-17, ‘l['|l57-59,

60-64. Outdoor and KSE have filed a joint Motion to Dismiss directed to_the Amended
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Complaint on grounds that Plaintiff (i) lacks Article III standing and prudential standing, (2)
is not the real party in interest, and (3) fails to plead sufficient facts to state a claim for relief. '
PNC has filed a separate Motion to dismiss Piaintiff’s claims against it on substantially
similar grounds In response, Piaintiff argues that he has constitutional standing to bring his
claims because he has suffered an injury that is particularized, traceable to Defendants, and
redressable by a favorable judicial decision He further contends that he has prudential
standing and is the real party in interest because he signed the Term Sheet as a promoter.
Plaintiff also disputes that he has failed to state a claim for relief.

The issues have been fully briefed, and the Motions are ripe for determination

Legal Standards l

The threshold issue presented by Defendants’ Motions to dismiss is whether Plaintiff
has standing to sue and/or is the real party in interest See Rcmzming v. Um`ted Sfates, 261
F.3d 156, l6l (Sth Cir. 2001). Standing is a constitutional requirement that inquires whether
the plaintiff is entitled to have the court decide the merits of the dispute Allen v. Wrighi, 468
U.S. 737, 750~5l (1984) (quoting Wartk v. Sel_din, 422 U.S. 490, 498 (1975)). Constitutional
standing exists where three requirements are metz (l) the plaintiff has suffered an injury in
fact, that is an invasion of a legally protected interest which is (a) concrete and
particularized, and (b) actual or imminent, not conjectural or hypothetical', (2) there is a
causal connection between the injury and the conduct complained of; and (3) it is likely, as
opposed to merely speculative, that the injury will be redressed by a favorable decisionl
Lrg`an v. Defenders of Wildlife, 504 U.S. 555, 560~»61 (1992). There are also prudential
standing limitations including the requirement that a plaintiff must assert his own legal

rights and interests, and cannot rest his claim to relief on the legal rights or interests of third

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parties Bennett v. Spear, 520 U.S. 154, 162 (i997); Wartlz, 422 U.S. at 499. The “real party
in interest” rule is a prudential limitation that requires the party who brings the action to be
“the party who, by the substantive law, has the right sought to be enforced.” Lubboclc Feecl
Lots, Inc. v. loer BeefProcessors, Inc., 630 F.2d 250, 257 (Sth Cir. 1980)', see also Pyr'amid
Transp., Inc. v. Greatwia'e Dallas Mavis, LLC, 2013 WL 3834626, at "‘2 (ND. Tex. July 25,
2013) (Fitzwater, J.) (“[The Rule 17(a) real party in interest] requirement is in essence a
codification of the prudential standing requirement that a litigant cannot sue in federal court
to enforce the rights of third parties.”).

Defendants challenge Plaintiff” s lack of constitutional standing under Fed. R. Civ. P.
12(b)(1). ln considering a Rule 12(b)(1) motion, the Court may evaluate: (_1) the complaint
alone, (2) the complaint supplemented by undisputed fact evidence in the record, or (3) the
complaint supplemented by undisputed facts plus the court’s resolution of disputed facts
Den Norske Stars Oljeselskap As v. HeereMac Voj; 241 F.3d 420, 424 (5th Cir. 2001). Rule
12(b)(1) challenges to subject matter jurisdiction come in two forms: “facial” attacks and
“factual” attacks Rodr‘iguez v. Tex. Comm ’r.r on the Arts, 992 F. Supp. 876, 878 (N.D. Tex.
1998). “A Rule 12(b)(l) motion that challenges standing based on the pleadings is
considered a facial attack, and the court reviews only the sufficiency of the allegations in the
pleading, presuming them to be true.” Crowder v. Village of Karg”man, Lfal., 2010 WL
2710601, at *1 CN.D. Tex. July 7, 2010) (Lynn, l.).

The proper procedural vehicle for challenging Plaintiff’s lack of prudential standing is
a motion to dismiss brought under Rule 12(b)(6). Harola’ H. Huggz`ns Realiy, Inc. v. FNC,
Inc., 634 F.3d 787, 795 n.2 (5th Cir. 2011). To defeat a Rule 12(b)(6) motion, a plaintiff

must plead “enough facts to state a claim to relief that is plausible on its face.” Bell Arl.

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Cor'p. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility When the
plaintiff pleads factual content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Aslzcrof£ v. Iqbal, 556 U.S. 662, 678 (2009)
(citirrg Twombly, 550 U.S. at 556). “The plausibility standard is not akin to a ‘probability
requirement,’ but it asks for more than a sheer possibility that a defendant has acted
unlawfully.” ld. (quoting Twombly, 550 U.S. at 556). The “[f]actual allegations must be
enough to raise a right to relief above the speculative level, on the assumption that all the
allegations in the complaint are true (even if doubtful in fact) [.]” Twombly, 550 U.S. at 555
(inter'nal citations omitted). However, the Court is not bound to accept legal conclusions
couched as factual allegations or conclusory allegations which are contradicted by
documents referred to in the complaint Twoml)ly, 550 U.S. at 555; Assocr`ated Bailders, Inc.
v. Alabama Power Co., 505 F.2d 97, 300 (5th Cir.1974). Documents attached to a complaint
are considered a part of the plaintiffs pleading Fed. R. Civ. P. lO(c); see also General Elec.
Capiral Corp. v. Posey, 415 F.3d 391, 398 n.8 (5th Cir. 2005).
Analysis
lnjury in Fact
Defendants first argue that Plaintiff lacks constitutional standing because he has not
alleged a cognizable injury in fact. See PNC Br. [Docl<et Entry #33] at 5-6', KSE/Outdoor Br.
[Docket Entry #35] at 7-8. Plaintiff responds that he suffered an injury in the form of a “lost
opportunity” to acquire the aerial camera businesses Pl. Resp. to KSE/Outdoor Mot. at 6. As
the Term Sheet attached to Plaint.iff’ s Arnended Complaint makes clear, however, the
opportunity to acquire the aerial camera businesses belonged to the Purchaser, rather than

Plaintiff. Pl. Am. Cornpl., Ex. A. The Amended Complaint alleges that “the Purchaser was
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never formed.” ld. at ll, ‘|l37. Defendants further point out that Plaintiff does not allege that
he took any action to create the Purchaser or to consummate the sale under the Term Sheet,
such as drafting corporate formation documents obtaining financing to fund the acquisition,
or negotiating transaction documents Therefore, Defendants argue, Plaintiff’s alleged lost
opportunity is too speculative to confer Article 111 standing

Plaintiff responds that he need not show that it was legally certain that the Purchaser
would acquire the aerial camera businesses in order to establish that he suffered a cognizable
injury in fact in the form of a lost opportunity Rather, Plaintiff contends, he need only show
a “reasonable probability” that Outdoor and the Purchaser would have entered into a
contractual relationship for the sale of the aerial camera businesses See Pl. Resp. to
KSE/Outdoor Mot. at 7. Plaintiff asserts that the Term Sheet demonstrates Outdoor and the
Purchaser made substantial progress towards consummating the transaction because it
establishes a purchase price, identifies sources of funding, addresses the calculation of
royalties, and sets a closing date. Ial. Plaintiff thus argues that there was a reasonable
probability that Outdoor would have sold the aerial camera businesses to the Purchaser.

The Court concludes that the Amended Complaint fails to allege sufficient facts to
show that Plaintiff suffered a cognizable injury in fact sufficient to establish that he has
standing to bring the claims asserted Plaintiff’s argument that he need only show a
“reasonable probability” that Outdoor and the Purchaser would have entered into a
contractual relationship applies only to his claim against KSE for tortious interference with
prospective relations Plaintiff does not advance any other argument to show he has standing

to pursue any of his other claims

 

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The Amended Complaint further fails to demonstrate a “reasonable probability” that
the Purchaser and Outdoor would have entered into a contractual relationshipl The only
allegation that touches on the probability that Outdoor and the Purchaser would have entered
into a contractual relationship for the sale of the aerial camera businesses is the allegation
that Outdoor, PNC, and Plaintiff executed the Term Sheet. The Term Sheet expressly
provides that it does not constitute a binding contractual commitment with respect to any
transaction Pl. Amend. Compl.,- Ex. A at 3. lt unambiguously states that a legally binding
obligation with respect to the sale of the aerial camera businesses will arise “only upon
execution and delivery of definitive documents by Outdoor Channel and Purchaser,” and that
“until definitive agreements are entered into . . . no party will be under any legal obligation
with respect to this Term Sheet, and no withdrawal from or termination of negotiations for
the transaction contemplated . . . shall . . . give any party a cause of action.” lal. Plaintiff does
not allege that he made any effort to form the Purchaser or negotiate the definitive
documents The mere fact that the parties executed a non-binding Term Sheet does not
establish a reasonable probability that Outdoor and the Purchaser would have entered into a
contractual relationship sufficient to establish that Plaintiff suffered a loss of the opportunity
to acquire the aerial camera businesses

;1`he Court therefore concludes that Plaintiff lacks standing to assert his claims against
any of the Defendants, because the Anrended Complaint fails to allege a cognizable injury in
fact. See Lr:jan, 504 U.S. at 560~61.

Prudential Standing/Real Partv in interest
KSE and Outdoor also argue that Plaintiff lacks prudential standing t_o bring his

claims to enforce any provision of the Term Sheet, and is not a real party in interest, because

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he is attempting to assert the Purchaser’s rights, and not his own KSE/Outdoor Br. at 8~10.
Plaintiff acknowledges that his claims against Outdoor and KSE arise principally under the
Term Sheet and the Amendment. See Resp. to KSE/Outdoor Mot. [Docket Entry #38] at 2;
see also ial at 10 (“The Exclusivity Provision [of the Term Sheet] forms the basis of
Salomon’s breach~of~contract and tortious~interference-with-an-existing~contract claim.”). l
Plaintiff contends that he has standing to sue and is the real party in interest because he
signed the Term Sheet in his capacity as a promoter of the Purchaser. Pl. Resp. to
KSE/Outdoor Mot. at l0.
Under Texas law, a promoter can be personally liable for entering into a contract for
an unformed corporation Beesley v. hydrocarbon Separation, Inc., 358 S.W.Bd 415, 423
(Tex. App._Dallas 2012, no pet.); Fish v. T andy Corp., 948 S.W.2d 886, 897 (Tex. App.~»
Fort Worth 1997, pet. denied). Further, because any enforceable agreement is mutual and
binding on both parties, a promoter who is liable under an agreement may also make a claim
under such a contract Fish, 948 S.W.2d at 897.
ihe Amended Complaint alleges that Plaintiff signed the Term Sheet in his capacity

as a promoter for the unformed Pur'chaser. See Pl. Amend. Compl. at l2, 1139. Specifically,
Plaintiff alleges:

PNC and Plaintiff were promoters of the Purchaser and signed

the Term Sheet on its behalf. The Purchaser, however, had not

been formed when the Term Sheet was signed and was never

formed Accordingly, PNC and Plaintiff are individually parties

and entitled to enforce the Term Sheet’s Exclusivity Provision
Id. Plaintiff contends that the only facts necessary to establish that he has standing and is the

real party in interest are that he signed the Term Sheet on behalf of an unformed entity. Pl.

Resp. to KSE/Outdoor Mot. at 10. Contrary to this assertion Plaintiff also must allege facts
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sufficient to show that the agreement he seeks to enforce is mutual and binding on both
parties See Fislr, 948 S.W.2d at 897.

_'l`he Term Sheet expressly provides that, with one exception, all of the parties’
promises are non-binding See Pl. Amend. Compl., Ex. A at 3. The final paragraph of the
Term Sheet states:

Exeept for the provisions of “Exclusiviiy” above, which is a
binding legal agreement upon the parties this Term Sheet is a
statement of mutual intention,' it is not intended to be legally
binding and does not constitute a binding contractual
commitment with respect to any iransaetiori. Without limiting
the foregoing the failure of Outdoor Channel and Purchaser to
reach agreement on the terms and conditions of definitive
agreements in accordance with the Term Sheet shall not be
construed as a breach of this Term Sheet by any party hereto. A
legally binding obligation with respect to the investment
contemplated herby will arise only upon execution and delivery
of definitive documents by Outdoor Channel and Purchaser,
subject to the terms and conditions set forth therein
Accor'dingly, until definitive agreements are entered into, except
as expressly set forth above, no party will be under any legal
obligation with respect to this Term Sheet, and no withdrawal
from or termination of negotiations for the transaction
contemplated by this term sheet prior to signing definitive
agreements for whatever reason, or for no reason, shall be
determined to be in bad faith and any such withdrawal or
termination shall not give any party a cause of action against the
other party.

Id. (emphasis added). This unambiguous language establishes that, with the exception of the
Exclusivity provision the Term Sheet is not a binding agreement

Plaintiff tacitly concedes that the Term Sheet is not binding, but nonetheless argues
that the Exclusivity provision, by itself, is a valid and enforceable bilateral contract Pl. Resp.
to KSE/Outdoor Mot. at l3-14. The Bxclusivity provision states, in its entirety:

A. 1n consideration of Purchaser continuing to spend time and
incur professional fees and other expenses related to the

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acquisition, each of Outdoor Channel and [SkyCam, LLC
and CableCarn, LLC] agree that until Apr'il 15, 2013, that
they and any of their directors, officers, affiliates and
representatives will not, directly or indirectly:

(i) Solicit, facilitate, encourage or accept any offers to
acquire any equity or debt interest in Sl<ycarn or
Cablecam or the whole or any material part of the
assets of the business of Skycam or Cablecam, nor
engage or procure any person to do so on their behalf;

(ii) Negotiate or correspond with third parties in relation
to existing or unsolicited offers to acquire the equity
or debt interest or any part¢of the business of Skycam
or Cablecarn, other than to advise them that exclusive
discussions are being pursued with another party (but

,in no event shall Purchaser’s identity be disclosed),
nor engage or procure any person to do so on its
behalf;

(iii) Sell or agree to sell any equity or debt interest
(including any new issue of debt or equity) in any part
of {SkyCarn, LLC and CableCam, LLC] to any other
party than Purchaser or its norninee, and Outdoor
Channel and its subsidiaries will procure that their
respective directors, officer's, affrliates, ernployees,
advisors and representatives will also act accordingly

B. Outdoor Channel and its subsidiaries jointly and severally
undertake that they will forthwith cease any negotiations,
discussions, or correspondence which they are having,
whether directly or indirectly, in relation to the potential
acquisition of an equity or debt interest in [SkyCam, LLC
and CableCarn, LLC] by any other party than Purchaser or
its nominee and that it will advise any such parties that
exclusive discussions are being pursued with another party
(but in no event shall Purchaser’s identity be disclosed).

C. Each of these undertakings in this Exclusivity section shall
be read and construed independently of all other
undertakings and, if any undertaking is held to be invalid or
unenforceabie, the remaining undertakings shall continue to
apply to the extent that they shall not also be found to be
invalid

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D. The parties agree that Purchaser shall be entitled to
equitable relief, including injunction [sic] (without the
necessity of posting bond) and specific performance, in the
event of any breach of the provisions of this agreement, in
additional to all other remedies available at law or in equity,
including monetary damages, both actual and
consequential

Id., Ex. A at 2.

Although the Term Sheet states that the Exclusivity provision is “a binding legal
agreement upon the parties,” the mere statement that an agreement is binding does not make
it so. When illusory promises are all that support a purported bilateral contr'act, there is no
mutuality of obligation, and therefore, no contract fn re 24R, Inc., 324 S.W.3d 564, 567
(Tex. 20l 0). A promise is illusory if it does not bind the promisor, such as when the promisor
retains the option to discontinue performance Mann Franlg”ort Stein & Lipp Advisors, Inc. v.
Fielding, 289 S.W.3d 844, 849 (Tex. 2009). Plaintiff asserts that the Exclusivity provision is
binding because it required the Purchaser to “continu[e] to spend time and incur professional
fees and other expenses related to the acquisition.” However, this assertion misreads the
provision The Exclusivity provision merely recites as consideration that the unformed
Purchaser may expend time and resources “related to the transaction.” it does not require the
Purchaser to take any specific action in furtherance of the transaction In fact, the Exclusivity
provision does not obligate the Purchaser to do anything at all. The absence of any obligation
on Purchaser under the Exclusivity provision is entirely consistent with the other terms of the
Term Sheet, which expressly provide that “no party will be under any legal obligation with
respect to this Term Sheet,” and that “no withdrawal from or termination of negotiations for

the transaction . . . shall . . . give any party a cause of action against the other party.” Pl.

Arnend. Corrrpl., Ex. A at 3. Therefore, there is no mutuality of obligation under the

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Exclusivity provision ln the absence of mutuality of obligation, the Exclusivity provision is
not a binding agreement The Purchaser has no liability under the Exclusivity provision, and
neither does Plaintiff in his alleged capacity as a promoter. Because Plaintiff has no liability
under the Exclusivity provision, he has failed to establish his standing and/or status as the
real party in interest

Even if the Bxclusivity provision were binding on the Purchaser, the Amended
Complaint fails to allege sufficient facts to show that Plaintiff was a promoter of the
Pur'clraser. Plaintiff relies solely on the allegation that he signed the Term Sheet for the
unformed Purchaser to establish his status as a promoter. Pl. Resp. at 9; see also Pl. Am.
Compl. at 7 , 1122; 12, 1139. A promoter is a person who “undertakes to form a corporation and
procure for it the rights and capital by which it is to carry out the purposes for which it is
organized.” See U.S. Banlc Nat’l Assn. v. Verizon Commc ’n, Inc., 2012 WL 3100778, at *13
(N.D. Tex. July 31, 2012). The Amended Complaint contains no allegation that Plaintiff took
any action for the purpose of bringing the Purchaser into existencel For' example, Plaintiff
does not allege that he drafted or negotiated corporate formation docurnents, identified
potential officers and dir'ectors, prepared the necessary forms to file with the Secretary of
State_or even attempted to do any of those things Tlrerefore, Plaintiff has failed to allege
facts sufficient to establish that he has prudential standing, or is the real party in interest, so
as to be able to assert a breach of contract or tortious interference claim against Outdoor and
KSE.

Plaintiff also argues that he has standing to bring his claims against KSE for tortious
interference with prospective relations because he was an “intended owner” of the Purchaser.

Pl. Resp. to KSE/Outdoor Mot. at 11-12. However, the two cases Plaintiff cites in support of
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his argument, Stnrges v. Wal~Mart Stores, lnc., 39 S.W.3d 608, 614-15 (Tex. App._
Beaumont 1998), rev’d, 52 S.W.3d 711 (Tex. 2001) and IAH-JFKAiiport Parking Co. v.
Ampco Systenis Farlcing, 2005 WL 3504034, at 85 (S.l). Tex. Dec. 22, 2005), do not stand
for the general proposition that a par‘ty’s status as an intended owner of an unformed
corporate entity is sufficient to establish prudential standing Rather, those cases held that
specific actions undertaken by the plaintiffs demonstrated that those plaintiffs suffered real
and concrete injuries sufficient to establish a personal stake in the contr'oversy. Sturges, 39
S.W.3d at 614-l5; IAH”JFKAii-port Parking, 2005 WL 3504034, at *5. Plaintiff does not
explain how his status as an intended owner of the Purchaser results in any different or
greater rights than he would have as a promoter of the unformed entity. The Arnended
Complaint does not contain sufficient specific factual allegations to show that Plaintiff had a
personal stake in the controversy, separate and distinct from any alleged injury suffered by
the Purchaser. Plaintiff’s allegation that he was an intended owner of the Purchaser fails to
establish standing
The Court’s determination that Plaintiff lacks standing pretermits consideration of the
other grounds raised by Defendants in their Motions to dismiss
Conclusion
Plaintiff’s Arnended Complaint fails to establish that he has Article lll standing lt
further fails to show that he has prudential standing or is the real party in interest entitled to
bring the claian asserted against KSE and Outdoor. Accordingly, the Court GRANTS the
Motions to Dismiss filed by PNC [Docket Entry #33] and KSB and Outdoor [Docket Entry
#35]. Plaintiff’s claims are DISMISSED without prejudice for lack of subject-matter

jurisdiction, pursuant to Fed. R. Civ. P. 12(b)(1). Sepulvado v. La. Bd. ofFardons & Parole,
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114 Fed. Appx. 620, 621 (Sth Cir. 2004) (per curiam) (a dismissal for lack of subject matter
jurisdiction based on the plaintiffs lack of standing is a dismissai without prejudice.)
SO ORDERED.

August 12, 2016.

 

 

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